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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS




 MADELINE B. COHEN
                Plaintiiff(s)

                                         CIVIL ACTION: 15 CV30003-KAR

             V.

 PETER A. ALBANESE,, D.M.D.,, ET AL
               Defendant(s)




                     SETTLEMENT ORDER OF DISMISSAL


 ROBERTSON, U.S.M..J :


      The Court having been advised on      May 16, 2016        that the above-entitled action

has been settled;,

      IT IS ORDERED that this action is hereby dismissed without costs and without prejudice

to the right of any party, upon good cause shown, to reopen the action within Thirty (30) days

if settlement is not consummated.


                                                By the Court,


 May 16, 2016                                   /s/ Mary Finn
    Date                                        Deputy Clerk
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(mefsettlementorderdismissal.wpd - 12/98)
